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                                                                                                        03/01/2021

                                  IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

              In re:                                                 §   Chapter 11
                                                                     §
              SPHERATURE INVESTMENTS LLC,                            §   Case No.: 20-42492
              et al.,                                                §
                                                                     §
                                Debtors.1                            §   Jointly Administered

         AMENDED ORDER GRANTING MOTION FOR ADMINISTRATIVE ORDER UNDER
          BANKRUPTCY CODE SECTIONS 105(A) AND 331 ESTABLISHING PROCEDURES
                  FOR INTERIM COMPENSATION AND REIMBURSEMENT
                          OF EXPENSES OF PROFESSIONALS

                   This matter having come before this court on the Motion for Administrative Order Under

        Bankruptcy Code Sections 105(a) and 331 Establishing Procedures for Interim Compensation and

        Reimbursement of Expenses of Professionals (the “Motion”) 2 filed by Spherature Investments

        LLC (“Spherature”), together with its affiliates identified herein (collectively, the “Debtors”),

        the Debtors and debtors-in-possession in the above captioned chapter 11 cases (the “Cases”).

                   The Court, having reviewed the Motion, and it appearing that this Court having jurisdiction

        to consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

        1334; and consideration of the Motion and the relief requested therein being a core proceeding

        pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.



        1
          The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
        Investments LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings,
        LLC (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV Marketplace”) EIN#6264;
        WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures Services, LLC (“WV Services”)
        EIN#2220. The Debtors’ corporate headquarters and service address in this district is 5100 Tennyson Parkway, Plano,
        TX 75024.
        2
            Capitalized terms not defined herein shall have the meaning ascribed in the Motion.

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        §§ 1408 and 1409; and that due and proper notice to all parties in interest was appropriate and

        provided under the circumstances; and it appearing that no other or further notice need be provided;

        and the Court having found and determined that the relief sought in the Motion is in the best

        interests of the Debtors, their Estates and the creditors thereof, and all parties in interest and that

        the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

        and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

                   1.   The Motion is GRANTED to the extent provided herein.

                   2.   Except as otherwise provided in an order of the Court authorizing the retention of

        a Professional, the Professionals may seek interim payment of compensation and reimbursement

        of expenses in accordance with the following Compensation Procedures:

                   3.   The Professionals shall present a detailed statement of services rendered and

        expenses incurred by each Professional for the prior month to the following “Notice Parties”:

                        a.     Counsel for the Debtors;

                        b.     Counsel for the Official Committee of Unsecured Creditors (the
                               “Committee”);

                        c.     The Office of the United States Trustee for the Eastern District of Texas;
                               and

                        d.     Counsel for the Debtors’ secured lenders.

                   4.   If no objection is timely made to a Monthly Statement, the Professional is entitled

        to an interim payment (an “Interim Compensation Payment”), subject to this Court’s subsequent

        approval under section 331 of the Code, as described below.

                   5.   To the extent that any of the Professionals are holding retainers provided by the

        Debtors or the Estates, such retainers may be drawn down by the Professionals pursuant to further


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        order of the Court including the Financing Orders (as defined below).

                   6.   On or before the twentieth (20th) day of each month following the month for which

        compensation and reimbursement of expenses is sought, each Professional may submit (via first-

        class mail or e-mail) to the Notice Parties a Monthly Statement that contains (i) a description of

        the services rendered, (ii) the time spent, (iii) the hourly rates charged, and (iv) the name of the

        attorney, accountant, other professional or paraprofessional performing the work to the Notice

        Parties. The Monthly Statement need not be filed with this Court.

                   7.   Each such recipient shall have until fourteen (14) days following service of the

        Monthly Statement to evaluate and object to the Monthly Statement (the “Objection Deadline”).

        Except as to that portion of a Monthly Statement that is the subject of a Notice of Objection as

        provided in paragraph eight (8) below, within three (3) business days following the Objection

        Deadline, the Debtors shall pay and/or the Professional may draw down on its retainer, if any, an

        amount equal to 80% of all fees and 100% of all expenses set forth in the Monthly Statement not

        subject to objection. Notwithstanding anything to the contrary in this Order, for all payments

        authorized by, and any authorizations contained in, this Order, all Professionals to which this Order

        applies shall first be paid through retainers held by such Professional, if any.

                   8.   If any of the Notice Parties objects to an Interim Compensation Payment, such

        Notice Party shall, on or before the Objection Deadline, file with this Court and serve on (i) the

        Professional whose Monthly Statement is objected to, and (ii) except to the extent duplicative of

        the foregoing clause, the other Notice Parties, a Notice of Objection to the Monthly Statement (the

        “Notice of Objection”) setting forth the precise nature of the objection and the amount at issue.

        Thereafter, the objecting party and the Professional whose statement is objected to shall confer

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        and attempt to reach an agreement regarding the correct payment to be made. If an agreement

        cannot be reached, or if no conference takes place, the Professional whose Monthly Statement is

        the subject of an objection shall have the option of (i) filing a motion with the Court outlining the

        opposition to the Notice of Objection and seeking an interim ruling from the Court and requesting

        authorization for payment, or (ii) foregoing payment with respect to the disputed amount until the

        next fee application hearing, at which time, this Court shall consider and dispose of the objection

        if payment of the disputed amount is requested. Within three (3) business days following entry of

        an Order resolving an objection to a Monthly Statement, the Debtors shall pay any outstanding

        portion of the fees and expenses authorized for payment by such Order.

                   9.    Each member of the Committee is permitted to submit statement of expenses

        incurred in the performance of the duties of the Committee (excluding third-party counsel expenses

        of individual Committee members) and supporting documentation to the Committee’s counsel,

        which counsel shall collect and file the Committee members’ requests for reimbursement with this

        Court in accordance with the procedures set forth herein.

                   10.   The first Monthly Statement may be submitted by each of the Professionals to the

        Notice Parties by February 20, 2021, and shall cover the period from the Petition Date through

        January 31, 2021.

                   11.   Approximately every four (4) months, each of the Professionals may file with the

        Court and serve on the Notice Parties, on or before the last day of the month following the end of

        the period for which compensation is sought, an application for interim Court approval and

        allowance, pursuant to Bankruptcy Code section 331, of compensation and reimbursement of

        expenses incurred during the prior four months (an “Interim Fee Application”). The first such

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        Interim Fee Application may be filed by each Professional on or before April 20, 2021, and shall

        cover the period from the Petition Date through March 31, 2021.

                   12.   In each Interim Fee Application and final fee application, all attorneys (collectively,

        the “Attorneys”) who have been or are hereafter retained pursuant to sections 327, 363 or 1103 of

        the Bankruptcy Code shall (i) apply for compensation for professional services rendered and

        reimbursement of expenses incurred in connection with the Debtors’ Cases in compliance with

        sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules,

        Local Rules and any other applicable procedures and orders of the Court, and (ii) shall make

        commercially reasonable best efforts to comply with the U.S. Trustee’s requests for information

        and additional disclosures as set forth in the Guidelines for Reviewing Applications for

        Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

        Larger Chapter 11 Cases Effective as of November 1, 2013.

                   13.   The existence of an application or a Court order that payment of compensation or

        reimbursement of expenses was improper as to a particular statement shall not disqualify a

        Professional from the future payment of compensation or reimbursement of expenses as set forth

        above.

                   14.   Neither the payment of nor the failure to object, in whole or in part, to the payment

        of Interim Compensation Payments as provided herein shall bind any party in interest or the Court

        with respect to the allowance of formal fee applications for compensation and reimbursement of

        expenses as to any such Professionals.

                   15.   The amount of fees and expenses sought in any request for compensation and

        reimbursement of expenses shall be stated in U.S. dollars (if applicable, calculated at the prevailing

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        exchange rate on the date of submission of the relevant fee application).

                   16.   All time periods set forth in this Order shall be calculated in accordance with

        Bankruptcy Rule 9006(a).

                   17.   The Debtors are authorized, but not directed, to take all actions necessary to

        effectuate the relief granted pursuant to this Order in accordance with the Motion.

                   18.   Notwithstanding anything to the contrary in this Order, payments authorized by,

        and any authorizations contained in, this Order are subject to the terms, conditions, limitations,

        and requirements of the financing orders entered in the above-enumerated cases, and/or any orders

        granting authority for the Debtors to use cash collateral (together with any approved budgets in

        connection therewith, the “Financing Orders”).

                   19.   Any and all payments and/or orders on any Interim Fee Applications and/or

        Monthly Statements are on an interim basis and subject in all respects to final approval pursuant

        to final fee applications to be filed by all Professionals in these Cases pursuant to the orders entered

        by this Court, the Local Bankruptcy Rules and the Bankruptcy Code.

                   20.   This Court shall retain exclusive jurisdiction to hear and determine all matters

        arising from or related to the implementation and/or enforcement of this order.




                                                            Signed on 3/1/2021
                                                      __________________________________________
                                                      HONORABLE BRENDA T. RHOADES,     SR
                                                     HONORABLE   BRENDA
                                                      UNITED STATES       T. RHOADES,
                                                                      BANKRUPTCY    JUDGE
                                                     UNITED STATES BANKRUPTCY JUDGE




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        Submitted and Prepared by:

        /s/ Marcus A. Helt
        Marcus A. Helt (TX 24052187)
        Thomas C. Scannell (TX 24070559)
        FOLEY & LARDNER LLP
        2021 McKinney Avenue, Suite 1600
        Dallas, TX 75201
        Telephone: (214) 999-3000
        Facsimile: (214) 999-4667
        mhelt@foley.com
        tscannell@foley.com

        PROPOSED COUNSEL FOR THE DEBTORS
        AND DEBTORS-IN-POSSESSION




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